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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

 MICHEAL LEAL, an individual,                   )      CASE NO.: 1:22-CV-00150-MRB
                                                )
        Plaintiff,                              )
                                                )      JUDGE: HONORABLE MICHAEL R.
 v.                                             )      BARRETT
                                                )
 FELICIA BEDEL, et. al.                         )
                                                )      PLAINTIFF’S MOTION FOR
        Defendants.                             )      EXTENSION OF TIME TO
                                                )      PERFECT SERVICE

       Plaintiff Michael Leal, (“Plaintiff”), by and through undersigned counsel, hereby requests

that the Court grant Plaintiff’s Motion to Extend Time to Perfect Service upon Defendants Cammie

Leal (“Cammie”) and Chelsea Stadtler (“Stadtler”) in accordance with Fed. R. Civ. P. 4(m).

Plaintiff requests an additional ninety (90) days in which to perfect service, making the deadline

to serve the Defendants September 19, 2022. In support thereof, Plaintiff submits the attached

Memorandum in Support and Proposed Order.

                                                    Respectfully Submitted,

                                                    /s/ Andrew Stebbins
                                                    Andrew Stebbins (0086387)
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                                CERTIFICATE OF SERVICE

       I hereby certify that true and accurate copies of the Plaintiff’s Motion for Extension of

Time to Perfect Service were served on June 7, 2022 via the court’s electronic filing system to the

Defendants and their respective counsel of record.

                                                     /s/ Andrew Stebbins
                                                     Andrew Stebbins
